






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00001-CV






In re Aaron Angel Gregory Johnson






ORIGINAL PROCEEDING FROM TOM GREEN COUNTY




M E M O R A N D U M   O P I N I O N



		Relator Aaron Angel Gregory Johnson, an inmate, has filed a pro se petition for writ
of mandamus in this Court.  See Tex. Gov't Code Ann. § 22.221 (West 2004).  In the petition,
Johnson asks this Court to "grant him relief by way of remanding his application [for writ of habeas
corpus] back to the district court and ordering it to hear his writ."  See Tex. Code Crim. Proc. Ann.
art. 11.07 (West Supp. 2011).

		The exclusive post-conviction remedy in final felony convictions in Texas courts is
through a writ of habeas corpus pursuant to article 11.07 of the code of criminal procedure.  Id.;
Olivo v. State, 918 S.W.2d 519, 525 n.8 (Tex. Crim. App. 1996).  While a post-conviction application
for habeas relief under article 11.07 must be filed in the court of original conviction, that court does
not decide the merits of the application, but simply makes any necessary findings of fact and forwards
the record to the Texas Court of Criminal Appeals for a final ruling.  See Tex. Code Crim. Proc.
Ann. art. 11.07, §§ 3, 5.  Only the court of criminal appeals has jurisdiction over post-conviction
writs of habeas corpus in felony cases.  See Ater v. Eighth Court of Appeals, 802 S.W.2d 241, 243
(Tex. Crim. App. 1991); Ex parte Martinez, 175 S.W.3d 510, 512-13 (Tex. App.--Texarkana 2005,
orig. proceeding).  Because Johnson's petition for mandamus relief is based on the trial court's
failure to act on his post-conviction writ of habeas corpus, we lack jurisdiction over his complaint.
See McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992).

		The petition for writ of mandamus is dismissed for want of jurisdiction.  See Tex. R.
App. P. 52.8(a).

		


						__________________________________________

						Diane M. Henson, Justice


Before Chief Justice Jones, Justices Puryear and Henson

Filed:   May 30, 2012


